              Case 5:08-cr-00062-D Document 95 Filed 04/28/20 Page 1 of 4


Prob 12C (10/99)



                     UNITED STATES DISTRICT COURT
                                            for the
                             Western District of Oklahoma

        Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: D’Angelo Tyree McCorvey                   Case Number: CR-08-00062-001-D

Name of Judicial Officer: The Honorable Timothy D. DeGiusti (case was transferred from the
Honorable Vicki Miles-LaGrange).
Date of Original Sentence: September 10, 2008

Original Offense: Count Possession of Cocaine Base (crack) with Intent to Distribute; 21 U.S.C.
§ 841(a)(l)

Original Sentence: 151 months custody, and 48 months supervised release

Type of Supervision: Supervised Release             Date Supervision Commenced: March 1, 2019

Previous Court Action:
April 19, 2019 - The court modified the terms of supervised release by adding a search condition
that is currently used in the Western District of Oklahoma.

May 17, 2019 - The court was informed, Mr. McCorvey submitted a urine specimen which tested.
positive for cocaine and failed to submit specimens as required on two separate occasions. No
court action was taken.

July 19, 2019 - The court was informed, Mr. McCorvey submitted urine specimens which tested
positive for cocaine. No court action was taken.

November 5, 2019 - The court was informed, Mr. McCorvey submitted urine specimens which
returned positive for cocaine and marijuana and further admitted using controlled substances. No
court action was taken.

March 4, 2020 - The court was informed, Mr. McCorvey submitted urine specimens which tested
positive for marijuana and further admitted using marijuana. No court action was taken.

April 6, 2020 - The court was informed, Mr. McCorvey submitted urine specimens which tested
positive for marijuana and further admitted using marijuana; submitted a diluted urine specimen;
and failed to provide a sample as required. No court action was taken.

Assistant U.S. Attorney: David McReary                         Defense Counsel: William Earley



                                                1
              Case 5:08-cr-00062-D Document 95 Filed 04/28/20 Page 2 of 4


Prob 12C (10/99)                                                               DeAngelo Tyree McCorvey
                                                                               CR-08-00062-001-D

                                   PETITIONING THE COURT


[X]      To issue a summons

The probation officer believes that the offender has violated the following condition(s) of
supervision:



   Violation       Nature of Noncompliance
   Number

        1          Violation of Mandatory Condition: The defendant shall not commit another
                   federal, state or local crime.

                   Mr. McCorvey violated this condition on April 18, 2020, when he was arrested by the
                   Oklahoma City Police Department for Driving Under the Influence of Drugs, Failure
                   to Stop at a Stop Sign, and Driving without and Driver’s License and State Insurance.
                   He was booked into the Oklahoma County Jail and subsequently released. Case # 20-
                   28950 is pending at the time of this report.


        2          Violation of Mandatory Condition: The defendant shall not unlawfully possess
                   a controlled substance. The defendant shall refrain from any unlawful use of a
                   controlled substance. The defendant shall submit to one drug test within the first
                   15 days of release from imprisonment and at least two periodic drug tests
                   thereafter, as determined by the court.

                   Mr. McCorvey violated this condition when he submitted urine specimens on April
                   24, June 18, July 3, 9, 16, and 17, 2019, which tested positive for cocaine.

                   Mr. McCorvey violated this condition when he submitted urine specimens on August
                   27, 2019, and January 27, February 12, 25, and March 13 and 16, 2020, which tested
                   positive for marijuana. Furthermore, he admitted he used marijuana.


        3          Violation of Special Condition: The defendant shall participate in a program of
                   substance abuse aftercare at the direction of the probation officer to include
                   urine, breath, or sweat patch testing; and outpatient treatment. The defendant
                   shall totally abstain from the use of alcohol and other intoxicants both during
                   and after the completion of any treatment program. The defendant shall not
                   frequent bars, clubs, or other establishments where alcohol is the main business.
                   The court may order that the defendant contribute to the cost of services


                                                   2
              Case 5:08-cr-00062-D Document 95 Filed 04/28/20 Page 3 of 4


Prob 12C (10/99)                                                                DeAngelo Tyree McCorvey
                                                                                CR-08-00062-001-D

                   rendered (copayment) in an amount to be determined by the probation officer
                   based on the defendant’s ability to pay.

                   Mr. McCorvey violated this condition when he failed to provide a urine sample for
                   testing on April 19, 26, August 9, 24, September 27, and December 10, 2019, and
                   January 10, February 3, 21, March 6, and April 21, 2020.

                   Mr. McCorvey violated this condition when he submitted a specimen on September
                   20, 2019, and January 27 and March 13, 2020, which were diluted.

      4
                   Violation of Standard Condition #5: The defendant shall work regularly at a
                   lawful occupation unless excused by the probation officer for schooling, training,
                   or other acceptable reasons.

                   Mr. McCorvey has failed to maintain regular employment throughout his term of
                   supervised release. The probation officer was last able to verify part-time employment
                   in October 2019.




U.S. Probation Officer Recommendation:

[X]       The term of supervision should be revoked.
[]        Extended for years, for a total term of years.
[]        The conditions of supervision should be modified as follows:

I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 24, 2020,


Mark DeMercurio
U.S. Probation Officer


Reviewed by,

_______________________________
Loraine M. Liggins
Supervisory U.S. Probation Officer

Date: April 24, 2020

                                                    3
               Case 5:08-cr-00062-D Document 95 Filed 04/28/20 Page 4 of 4


Prob 12C (10/99)                                                 DeAngelo Tyree McCorvey
                                                                 CR-08-00062-001-D




THE COURT ORDERS
[ ]  No action
[ ]  The Issuance of a Warrant
[X]  The Issuance of a Summons
[ ]  Other


April 28, 2020
Date




                                           4
